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 Counsel to the Foreign Representative

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

 In re:

 EUROPACORP S.A.,                                Chapter 15

                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.


 In re:

 EUROPACORP HOME ENTERTAINMENT
 S.A.S.                                          Chapter 15

                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.



 In re:

 BLUE ADVERTAINMENT S.A.S.                       Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.
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 In re:

 ORCHESTRA S.A.S.
                                                 Chapter 15

                                                 Case No. 19-__________
               Debtor in a Foreign Proceeding.



 In re:
                                                 Chapter 15
 EUROPACORP DISTRIBUTION S.A.S.
                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.



 In re:

 EUROPACORP TELEVISION S.A.S.                    Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 VALERIAN HOLDING S.A.S.                         Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 DIGITAL FACTORY S.A.S.                          Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



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 In re:

 T5 PRODUCTION S.A.S.
                                                     Chapter 15

                                                     Case No. 19-_____
                  Debtor in a Foreign Proceeding.



 In re:

 VALERIAN S.A.S.                                     Chapter 15

                                                     Case No. 19-_____
                  Debtor in a Foreign Proceeding.



 MOTION FOR ENTRY OF AN ORDER DIRECTING JOINT ADMINISTRATION OF
             THE ABOVE-CAPTIONED CHAPTER 15 CASES


          Kevin Tatum McDonald, in his capacity as the duly authorized foreign representative (the

“Foreign Representative”) of EuropaCorp S.A. (“EuropaCorp”) and its affiliated foreign debtors

(collectively with EuropaCorp, the “Foreign Debtors”) in connection with their reorganization

proceedings under French law (collectively, the “Sauvegarde” or “Safeguard Proceeding”)

currently pending before the Tribunal de Commerce de Bobigny (Commercial Court of Bobigny)

France (the “French Court”), respectfully submits this motion (the “Motion”) for entry of an

order, substantially in the form annexed hereto as Exhibit A (the “Proposed Order”), pursuant to

section 105(a) of title 11 of the United States Code (the “Bankruptcy Code”), 11 U.S.C. §§ 101-

1532, and Rule 1015(b) of the Federal Rules of Bankruptcy Procedures (the “Bankruptcy Rules”),

authorizing the joint administration of the Foreign Debtors’ above-captioned chapter 15 cases (the

“Chapter 15 Cases”) for procedural purposes only. In support of the Motion, the Foreign

Representative respectfully refers the Court to the Verified Petition Under Chapter 15 for

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Recognition of a Foreign Main Proceeding (the “Verified Petition”) which is being filed

contemporaneously herewith and is incorporated herein by reference. In further support of the

Motion, the Foreign Representative respectfully states as follows:

                                 JURISDICTION AND VENUE

         1.     The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

1334, section 1501 of the Bankruptcy Code, and the Amended Standing Order of Reference from the

United States District Court for the Southern District of New York, dated as of January 31, 2012,

Reference M-431, In re Standing Order of Reference Re: Title 11, 12 Misc. 00032 (S.D.N.Y. Feb.

1, 2012) (Preska, C.J.). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(P). Venue is

proper in this District pursuant to 28 U.S.C. § 1410(1). The statutory predicates for the relief

requested herein are sections 105(a) of the Bankruptcy Code and Rule 1015(b) of the Bankruptcy

Rules.

                                    BACKGROUND

         2.     The Foreign Representative respectfully refers the Court to the Verified Petition,

which contains the relevant facts and circumstances, including a description of the Foreign

Debtors’ business, corporate and capital structures, and the circumstances leading up to the

commencement of these Chapter 15 Cases in relation to the Safeguard Proceeding pending in the

French Court.

                                     RELIEF REQUESTED

         3.     Pursuant to Rule 1015(b) of the Bankruptcy Rules, the Foreign Debtors respectfully

request the immediate entry of an order providing for the joint administration of the Chapter 15

Cases for procedural purposes only. In particular, the Foreign Debtors request that the Court

provide for joint administration by: (a) establishing a joint docket and file for the Chapter 15

Cases; (b) approving the filing of a joint pleadings caption; (c) approving combined notices to
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creditors and other parties in interest, as applicable; and (d) directing an entry to be made on the

dockets of: In re EuropaCorp Home Entertainment S.A.S.; In re Blue Advertainment S.A.S.; In re

Orchestra S.A.S.; In re EuropaCorp Distribution S.A.S.; In re EuropaCorp Television S.A.S.; In

re Valerian Holding S.A.S.; In re Digital Factory S.A.S.; In re T5 Production S.A.S.; and In re

Valerian S.A.S, to reflect the joint administration of the Chapter 15 Cases.

                             BASIS FOR RELIEF REQUESTED

A.     The Foreign Debtors are Affiliates Under Federal Bankruptcy Rule 1015(b)

       4.      Bankruptcy Rule 1015(b) provides that, if two or more petitions are pending in the

same court by or against a debtor and an affiliate, “the court may order a joint administration of

the estates.” Fed. R. Bankr. P. 1015(b). Section 101(2) of the Bankruptcy Code defines “affiliate”

to mean, among other things:


               [an] entity that directly or indirectly owns, controls, or holds with
               power to vote, 20 percent or more of the outstanding voting
               securities of the debtor . . . [or] [a] corporation 20 percent or more
               of whose outstanding voting securities are directly or indirectly
               owned, controlled, or held with power to vote, by the debtor, or by
               an entity that directly or indirectly owns, controls, or holds with
               power to vote, 20 percent or more of the outstanding voting
               securities of the debtor . . . .

11 U.S.C. § 101(2).

       5.      Joint administration of the Foreign Debtors’ cases is warranted because (a) the

Foreign Representative has filed an Official Form 410 (Chapter 15 Petition for Recognition of a

Foreign Proceeding) (the “Petitions”) with respect to each of the Foreign Debtors and (b) as

provided in the Petitions, each Foreign Debtor is an “affiliate” of one or more other Foreign

Debtors under section 101(2) of the Bankruptcy Code. Additionally, joint administration pursuant

to Bankruptcy Rule 1015(b) is not limited to plenary cases, and the requested relief will promote



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the efficient administration of these Chapter 15 Cases, one of the stated purposes of chapter 15.

See 11 U.S.C. § 1501(a)(3).

       6.      Courts have routinely granted joint administration of interrelated Chapter 15 Cases

based on Bankruptcy Rule 1015(b). See, e.g., In re Boart Longyear Limited, No. 17-11156 (MEW)

(Bankr. S.D.N.Y. Apr. 28, 2017); In re OAS S.A., No. 15-10937 (SMB) (Bankr. S.D.N.Y. Apr. 16,

2015); In re Aralco S.A. – Indústria e Comércio, No. 15-10419 (MKV) (Bankr. S.D.N.Y. Feb. 27,

2015); In re Cline Mining Corp., No. 14-26132 (EEB) (Bankr. D. Colo. Dec. 4, 2014); In re Essar

Steel Algoma Inc., No. 14-11730 (BLS) (Bankr. D. Del. July 17, 2014); In re Cinram Int’l Inc.,

No. 12-11882 (KJC) (Bankr. D. Del. June 26, 2012). As such, the Court has the authority to enter

the proposed order pursuant to Bankruptcy Rule 1015(b).

       7.      In addition, the Foreign Representative submits that the relief requested herein is

available pursuant to section 105(a) of the Bankruptcy Code. Section 105(a) of the Bankruptcy

Code, made applicable in Chapter 15 Cases pursuant to section 103(a) of the Bankruptcy Code,

permits this Court to “issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). See In re Select Tree

Farms, Inc., 483 B.R. 595, 597 (Bankr. W.D.N.Y. 2012) (Section 105(a) “empower[s] ‘the

bankruptcy court to exercise its equitable powers . . . to facilitate the implementation of other

Bankruptcy Code provisions.’”) (citing Solow v. Kalikow (In re Kalikow), 602 F. 3d 82, 97 (2nd

Cir. 2010)); In re Fairfield Sentry Ltd., 458 B.R. 665, 691-92 (S.D.N.Y. 2011) (noting that in

chapter 15 cases, a bankruptcy court may enter orders pursuant to section 105(a) only to the extent

consistent with the Bankruptcy Code and the Bankruptcy Rules) (citing Barbieri v. RAJ

Acquisition Corp. (In re Barbieri), 199 F.3d 616 (2d. Cir. 1999)). The relief requested herein is

consistent with and furthers the purpose of the Bankruptcy Code. Therefore, the Court has



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additional authority under section 105(a) of the Bankruptcy Code to enter the proposed order

directing the joint administration of these Chapter 15 Cases.

B.     Joint Administration of the Estate Will Provide Greater Ease of Administration

       8.      The Petitions and the Verified Petition establish that joint administration of these

Chapter 15 Cases is warranted because (a) the Foreign Debtors’ financial affairs and business

operations are closely related, (b) each Foreign Debtor is party to the Safeguard Proceeding, which

is a single, jointly administered reorganization proceeding, and (c) the joint administration of the

Chapter 15 Cases will ease the administrative burden on this Court and parties in interest.

       9.      The joint administration of the Chapter 15 Cases will permit the Clerk of the Court

to utilize a single general docket for these cases and combine notices to creditors of the Foreign

Debtors’ respective estates and other parties in interest. Entering an order directing joint

administration of the Chapter 15 Cases will avoid the need for duplicative notices, opinions,

motions, applications, and orders, thereby saving time and expense that otherwise would be

required to administer individual cases. Joint administration also will enable parties in each of the

Chapter 15 Cases to receive notice of the various matters pending before the Court in all of these

Chapter 15 Cases. Joint administration will further simplify supervision of the administrative

aspects of the Chapter 15 Cases by the Office of the United States Trustee—a task that would pose

unnecessary burdens absent joint administration.

C.     No Party in Interest Will Be Prejudiced By Virtue of the Relief Requested

       10.     The rights of the respective creditors of the Foreign Debtors will not be adversely

affected by the proposed joint administration of the Chapter 15 Cases because the rights of each

creditor against the respective estates will be preserved. The Motion seeks neither substantive

consolidation of the Foreign Debtors’ estates, nor modification of the relative rights and remedies

of creditors against any of the individual Foreign Debtors. Thus, the substantive rights of parties

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in interest will not be prejudiced or otherwise negatively affected by the entry of an order directing

the procedural joint administration of the Chapter 15 Cases.

             11.    For these reasons, the Foreign Representative submits that the relief requested

herein is in the best interest of the Foreign Debtors, their estates, creditors, and other parties in

interest, and, therefore, should be granted.

             12.    As such, the Foreign Representative respectfully requests that the caption of each

of the Chapter 15 Cases be modified to reflect their joint administration as follows:


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                                Chapter 15

    EUROPACORP, S.A., et al.,1                                            Case No. 19-______
                     Debtors in a Foreign Proceeding.                     (Jointly Administered)


1
 The Foreign Debtors in these chapter 15 cases are the following entities (the last four digits of their respective federal
employer identification numbers, if any, follow in parentheses): EuropaCorp S.A. (4041); EuropaCorp Home
Entertainment S.A.S. (9512); Blue Advertainment S.A.S. (4911); Orchestra S.A.S. (8952); EuropaCorp Distribution
S.A.S. (8952); EuropaCorp Television S.A.S. (2801); Valerian Holding S.A.S. (0982); Digital Factory S.A.S. (9002);
T5 Production S.A.S. (7531); and Valerian S.A.S. (9738). The Foreign Debtors’ address is 20 rue Ampère 93200
Saint-Denis, France.

             13.    The Foreign Representative also requests that the Court direct that the following

statement be entered on the docket of each of the Chapter 15 Cases to reflect their joint

administration:

             An order has been entered in this case directing the joint administration of the
             chapter 15 cases of EuropaCorp S.A.; In re EuropaCorp Home Entertainment
             S.A.S.; In re Blue Advertainment S.A.S.; In re Orchestra S.A.S.; In re EuropaCorp
             Distribution S.A.S.; In re EuropaCorp Television S.A.S.; In re Valerian Holding
             S.A.S.; In re Digital Factory S.A.S.; In re T5 Production S.A.S., and In re Valerian
             S.A.S. The docket in the chapter 15 case of EuropaCorp S.A., Case No. 19-[_____
             (___)] should be consulted for all matters affecting this case.



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                                     NO PRIOR REQUEST

        14.    No prior request for the relief sought in this Motion has been made to this or any

other court.

                                              NOTICE

        15.    Notice of this Motion has been provided to: (i) the Office of the United States

Trustee for the Southern District of New York, (ii) the Foreign Debtors, (iii) all parties authorized

to administer foreign proceedings of the Foreign Debtors, (iv) JPM Chase, as administrative agent

and issuing bank and JPM Group, as Euro Agent, each under the First Lien Agreement, (v) Vine,

as administrative agent under the Second Lien Agreement, (vi) Vine, as administrative agent under

the Participation Agreement, and (vii) all other parties against whom provisional relief is sought.

Due to the nature of the relief requested herein, the Foreign Representative submits that no other

or further notice is required.




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                                        CONCLUSION

       WHEREFORE, the Foreign Representative respectfully requests that the Court enter the

order, substantially in the form annexed hereto as Exhibit A, ordering the joint administration of

these Chapter 15 Cases and granting such other and further relief it deems necessary and

appropriate.


Dated: New York, New York
       May 17, 2019
                                             Respectfully submitted,
                                             GIBSON, DUNN & CRUTCHER LLP

                                             /s/ Matthew K. Kelsey
                                             Matthew K. Kelsey
                                             J. Eric Wise
                                             Alan Moskowitz
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                                            Counsel to the Foreign Representative




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                                    Exhibit A

                                 Proposed Order
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK



 In re:

 EUROPACORP S.A.,                                Chapter 15

                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.


 In re:

 EUROPACORP HOME ENTERTAINMENT
 S.A.S.                                          Chapter 15

                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.



 In re:

 BLUE ADVERTAINMENT S.A.S.                       Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 ORCHESTRA S.A.S.
                                                 Chapter 15

                                                 Case No. 19-__________
               Debtor in a Foreign Proceeding.
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 In re:
                                                 Chapter 15
 EUROPACORP DISTRIBUTION S.A.S.
                                                 Case No. 19-_____

               Debtor in a Foreign Proceeding.



 In re:

 EUROPACORP TELEVISION S.A.S.                    Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 VALERIAN HOLDING S.A.S.                         Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 DIGITAL FACTORY S.A.S.                          Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



 In re:

 T5 PRODUCTION S.A.S.                            Chapter 15

                                                 Case No. 19-_____
               Debtor in a Foreign Proceeding.



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 In re:

 VALERIAN S.A.S.
                                                             Chapter 15

                                                             Case No. 19-_____
                   Debtor in a Foreign Proceeding.



          ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 15 CASES

          Upon consideration of the motion by the Foreign Representative in the above-captioned

chapter 15 cases seeking entry of an order, pursuant to section 105(a) of the Bankruptcy Code and

Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, for the joint administration of the

above-captioned chapter 15 cases for procedural purposes only (the “Motion”);1 and the Court

having found that it has jurisdiction to consider the Motion and the relief requested therein in

accordance with 28 U.S.C. §§ 157 and 1334, section 1501 of the Bankruptcy Code and the

Amended Standing Order of Reference from the United States District Court for the Southern

District of New York dated as of January 31, 2012, Reference M-431, In re Standing Order of

Reference Re: Title 11, 12 Misc. 00032 (S.D.N.Y. Feb. 1, 2012) (Preska, C.J.); and consideration

of the Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §

157)(b)(2)(P); and venue of this proceeding being proper before the Court pursuant to 28 U.S.C.

§ 1410(1); and due and proper notice of the Motion having been provided, and no other or further

notice being necessary; and the Court having reviewed and considered the Motion, the Petition,

and the Verified Petition; and the Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and the relief requested in the




 1 All capitalized terms not otherwise defined in this order shall have the meanings ascribed to them in the Motion.

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Motion being in the best interest of the Foreign Debtors’ estates, their creditors, and other parties

in interest; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

             1.     The Motion is granted as set forth herein.

             2.     The Chapter 15 Cases hereby are consolidated for procedural purposes only and

shall be jointly administered by the Court.

             3.     Pleadings in these Chapter 15 Cases shall be required to bear a caption substantially

in the following form:


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

    In re:                                                                Chapter 15

    EUROPACORP, S.A., et al.,1                                            Case No. 19-______
                     Debtors in a Foreign Proceeding.                     (Jointly Administered)


1
 The Foreign Debtors in these chapter 15 cases are the following entities (the last four digits of their respective federal
employer identification numbers, if any, follow in parentheses): EuropaCorp S.A. (4041); EuropaCorp Home
Entertainment S.A.S. (9512); Blue Advertainment S.A.S. (4911); Orchestra S.A.S. (8952); EuropaCorp Distribution
S.A.S. (8952); EuropaCorp Television S.A.S. (2801); Valerian Holding S.A.S. (0982); Digital Factory S.A.S. (9002);
T5 Production S.A.S. (7531); and Valerian S.A.S. (9738). The Foreign Debtors’ address is 20 rue Ampère 93200
Saint-Denis, France.

             4.     The consolidated caption satisfies the requirements of section 342(c) of the

Bankruptcy Code in all respects.

             5.     A docket entry shall be made by the Clerk of the Court in each of the above-

captioned cases substantially as follows:

             An order has been entered in this case directing the joint administration of the chapter 15
             cases of EuropaCorp S.A.; In re EuropaCorp Home Entertainment S.A.S.; In re Blue
             Advertainment S.A.S.; In re Orchestra S.A.S.; In re EuropaCorp Distribution S.A.S.; In re
             EuropaCorp Television S.A.S.; In re Valerian Holding S.A.S.; In re Digital Factory S.A.S.;
             In re T5 Productions; and In re Valerian S.A.S. The docket in the chapter 15 case of

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       EuropaCorp S.A., Case No. 19-[_____ (___)] should be consulted for all matters affecting
       this case.

       6.      The Foreign Representative is authorized to (i) utilize a combined service list for

the Foreign Debtors’ jointly administered cases and (ii) send combined notices to creditors of the

Foreign Debtors’ estates and other parties in interest as applicable.

       7.      The Foreign Representative is authorized and empowered to take any actions as

may be necessary and appropriate to implement and effectuate the terms of this order.

       8.      Nothing contained in this Order shall be construed as directing or otherwise

effecting a substantive consolidation of the bankruptcy cases of the Foreign Debtors.

       9.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this order.

Dated: New York, New York
       May __, 2019
                                                  _______________________________________
                                                  UNITED STATES BANKRUPTCY JUDGE




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